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               Exhibit C
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                                                 U.S. District Court
                                       District of Connecticut (New Haven)
                                 CIVIL DOCKET FOR CASE #: 3:20-cv-00266-RNC


 Carlier v. Charter Communications, Inc.                                               Date Filed: 02/26/2020
 Assigned to: Judge Robert N. Chatigny                                                 Jury Demand: Plaintiff
 Demand: $5,000,000                                                                    Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1331 Fed. Question                                                          Jurisdiction: Federal Question
 Plaintiff
 Kelly Carlier                                                          represented by James J. Reardon , Jr
 on behalf of herself and all others similarly                                         Reardon Scanlon LLP
 situated                                                                              45 South Main Street Suite 305
                                                                                       West Hartford, CT 06107
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 V.
 Defendant
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  Date Filed             #    Docket Text
  02/26/2020             1 COMPLAINT (Class Action) against Charter Communications, Inc. ( Filing fee $400
                           receipt number ACTDC-5717289.), filed by Kelly Carlier. (Attachments: # 1 Civil Cover
                           Sheet)(Reardon, James) (Entered: 02/26/2020)
  02/26/2020                  Request for Clerk to issue summons as to Charter Communications, Inc.. (Reardon, James)
                              (Entered: 02/26/2020)
  02/26/2020                  Judge Janet C. Hall added. (Oliver, T.) (Entered: 02/26/2020)
  02/26/2020             2 NOTICE of Related Case by Kelly Carlier (Reardon, James) (Entered: 02/26/2020)
  02/26/2020             3 Order on Pretrial Deadlines: Amended Pleadings due by 4/26/2020. Discovery due by
                           8/27/2020. Dispositive Motions due by 10/1/2020.
                           Signed by Clerk on 2/26/2020. (Reis, Julia) (Entered: 02/27/2020)
  02/26/2020             4 ELECTRONIC FILING ORDER FOR COUNSEL - PLEASE ENSURE COMPLIANCE
                           WITH COURTESY COPY REQUIREMENTS IN THIS ORDER
                           Signed by Judge Janet C. Hall on 2/26/2020. (Reis, Julia) (Entered: 02/27/2020)
  02/26/2020             5 STANDING PROTECTIVE ORDER
                           Signed by Judge Janet C. Hall on 2/26/2020. (Reis, Julia) (Entered: 02/27/2020)
  02/26/2020             6 Standing Order re: Discovery
                           Signed by Judge Janet C. Hall on 2/26/2020. (Reis, Julia) (Entered: 02/27/2020)

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5/26/2020              Case 3:20-cv-08016-DLR Document         CT CMECF
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  02/27/2020            7 NOTICE TO COUNSEL/SELF-REPRESENTED PARTIES : Counsel or self-represented
                           parties initiating or removing this action are responsible for serving all parties with
                           attached documents and copies of 1 Complaint filed by Kelly Carlier, 2 Notice of Related
                           Case filed by Kelly Carlier, 3 Order on Pretrial Deadlines, 4 Electronic Filing Order, 5
                           Standing Protective Order, 6 Standing Order re: Discovery
                           Signed by Clerk on 2/27/2020. (Reis, Julia) (Entered: 02/27/2020)
  02/27/2020             8 ELECTRONIC SUMMONS ISSUED in accordance with Fed. R. Civ. P. 4 and LR 4 as to
                           *Charter Communications, Inc.* with answer to complaint due within *21* days. Attorney
                           *James J. Reardon, Jr* *Reardon Scanlon LLP* *45 South Main Street Suite 305* *West
                           Hartford, CT 06107*. (Reis, Julia) (Entered: 02/27/2020)
  03/02/2020             9 SUMMONS Returned Executed by Kelly Carlier. Charter Communications, Inc. served on
                           2/27/2020, answer due 3/19/2020. (Reardon, James) (Entered: 03/02/2020)
  03/11/2020            10 ORDER OF TRANSFER. Case reassigned to Judge Charles S. Haight, Jr. for all further
                           proceedings.
                           Signed by Judge Janet C. Hall on 3/11/2020. (Reis, Julia) (Entered: 03/12/2020)
  03/16/2020            11 MOTION for Attorney(s) Joshua D. Arisohn to be Admitted Pro Hac Vice (paid $75 PHV
                           fee; receipt number ACTDC-5751408) by Kelly Carlier. (Reardon, James) (Entered:
                           03/16/2020)
  03/16/2020            12 MOTION for Attorney(s) Joshua D. Arisohn to be Admitted Pro Hac Vice by Kelly
                           Carlier. (Attachments: # 1 Exhibit Declaration)(Reardon, James) (Entered: 03/16/2020)
  03/16/2020            13 NOTICE of Appearance by Brian E. Moran on behalf of Charter Communications, Inc.
                           (Moran, Brian) (Entered: 03/16/2020)
  03/16/2020            14 NOTICE of Appearance by Trevor Loomis Bradley on behalf of Charter Communications,
                           Inc. (Bradley, Trevor) (Entered: 03/16/2020)
  03/16/2020            15 MOTION for Extension of Time until April 9, 2020 to respond to class action complaint 1
                           Complaint by Charter Communications, Inc.. (Bradley, Trevor) (Entered: 03/16/2020)
  03/16/2020            16 NOTICE of Related Case by Charter Communications, Inc. (Bradley, Trevor) (Entered:
                           03/16/2020)
  03/17/2020            17 ORDER granting 12 Motion to Appear Pro Hac Vice for Joshua D. Arisohn. Certificate of
                           Good Standing due by 5/16/2020. Signed by Clerk on 03/17/2020. (Nuzzi, Tiffany)
                           (Entered: 03/17/2020)
  03/27/2020            18 MOTION to Stay Case by Charter Communications, Inc..Responses due by 4/17/2020
                           (Bradley, Trevor) (Entered: 03/27/2020)
  03/27/2020            19 Memorandum in Support re 18 MOTION to Stay Case filed by Charter Communications,
                           Inc.. (Bradley, Trevor) (Entered: 03/27/2020)
  03/30/2020            20 NOTICE of Appearance by Joshua Arisohn on behalf of Kelly Carlier (Arisohn, Joshua)
                           (Entered: 03/30/2020)
  04/06/2020            21 MOTION for Attorney(s) Adamson B. Starr to be Admitted Pro Hac Vice (paid $75 PHV
                           fee; receipt number ACTDC-5787808) by Charter Communications, Inc.. (Bradley,
                           Trevor) (Entered: 04/06/2020)
  04/06/2020            22 AFFIDAVIT re 21 MOTION for Attorney(s) Adamson B. Starr to be Admitted Pro Hac
                           Vice (paid $75 PHV fee; receipt number ACTDC-5787808) Signed By Adamson B. Starr
                           filed by Charter Communications, Inc.. (Attachments: # 1 Exhibit Attachment A to
                           Declaration)(Bradley, Trevor) (Entered: 04/06/2020)

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5/26/2020              Case 3:20-cv-08016-DLR Document   CT CMECF
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  04/06/2020           23 MOTION for Attorney(s) Matthew A. Keilson to be Admitted Pro Hac Vice (paid $75
                           PHV fee; receipt number ACTDC-5787900) by Charter Communications, Inc.. (Bradley,
                           Trevor) (Entered: 04/06/2020)
  04/06/2020            24 AFFIDAVIT re 23 MOTION for Attorney(s) Matthew A. Keilson to be Admitted Pro Hac
                           Vice (paid $75 PHV fee; receipt number ACTDC-5787900) Signed By Matthew A.
                           Keilson filed by Charter Communications, Inc.. (Attachments: # 1 Exhibit Attachment A
                           to Declaration)(Bradley, Trevor) (Entered: 04/06/2020)
  04/06/2020            25 MOTION for Attorney(s) Ryan D. Watstein to be Admitted Pro Hac Vice (paid $75 PHV
                           fee; receipt number ACTDC-5787925) by Charter Communications, Inc.. (Bradley,
                           Trevor) (Entered: 04/06/2020)
  04/06/2020            26 AFFIDAVIT re 25 MOTION for Attorney(s) Ryan D. Watstein to be Admitted Pro Hac
                           Vice (paid $75 PHV fee; receipt number ACTDC-5787925) Signed By Ryan D. Watstein
                           filed by Charter Communications, Inc.. (Attachments: # 1 Exhibit Attachment A to
                           Declaration)(Bradley, Trevor) (Entered: 04/06/2020)
  04/07/2020            27 ORDER granting 23 Motion to Appear Pro Hac Vice for Matthew A. Keilson. Certificate
                           of Good Standing due by 6/6/2020. Signed by Clerk on 04/07/2020. (Nuzzi, Tiffany)
                           (Entered: 04/07/2020)
  04/07/2020            28 ORDER granting 21 Motion to Appear Pro Hac Vice for Adamson B. Starr. Certificate of
                           Good Standing due by 6/6/2020. Signed by Clerk on 04/07/2020. (Nuzzi, Tiffany)
                           (Entered: 04/07/2020)
  04/07/2020            29 ORDER granting 25 Motion to Appear Pro Hac Vice for Ryan D. Watstein. Certificate of
                           Good Standing due by 6/6/2020. Signed by Clerk on 04/07/2020. (Nuzzi, Tiffany)
                           (Entered: 04/07/2020)
  04/08/2020            30 Consent MOTION for Extension of Time to File Response/Reply as to 18 MOTION to
                           Stay Case until May, 1 2020 by Kelly Carlier. (Arisohn, Joshua) (Entered: 04/08/2020)
  04/08/2020            31 NOTICE by Charter Communications, Inc. re 18 MOTION to Stay Case, 19
                           Memorandum in Support of Motion (Watstein, Ryan) (Entered: 04/08/2020)
  04/09/2020            32 NOTICE of Appearance by Ryan Watstein on behalf of Charter Communications, Inc.
                           (Watstein, Ryan) (Entered: 04/09/2020)
  04/09/2020            33 Defendant's ANSWER to 1 Complaint with Affirmative Defenses by Charter
                           Communications, Inc..(Watstein, Ryan) (Entered: 04/09/2020)
  04/09/2020            34 ELECTRONIC ORDER. Plaintiff's 30 Motion for Extension of Time to File Opposition to
                           Defendant's Motion to Stay is GRANTED, absent objection and for good cause shown.
                           Plaintiff may now file its opposition to Defendant's 18 Motion to Stay Case on or before
                           May 1, 2020. Signed by Judge Charles S. Haight, Jr. on April 9, 2020. (Gitlin, A.)
                           (Entered: 04/09/2020)
  04/09/2020            35 Corporate Disclosure Statement by Charter Communications, Inc.. (Watstein, Ryan)
                           (Entered: 04/09/2020)
  04/09/2020            36 ELECTRONIC ORDER. Defendant's 15 Motion for Extension of Time to Respond to
                           Class Complaint until April 9, 2020 is GRANTED, absent objection and for good cause
                           shown. Signed by Judge Charles S. Haight, Jr. on April 9, 2020. (Gitlin, A.) (Entered:
                           04/09/2020)
  04/09/2020                  Answer deadline updated for Charter Communications, Inc. to 4/9/2020. (Barry, Donna)
                              (Entered: 04/10/2020)
  04/17/2020            37 NOTICE of Appearance by Matthew A Keilson on behalf of Charter Communications,
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                           Inc. (Keilson, Matthew) (Entered: 04/17/2020)
  04/21/2020            38 CERTIFICATE OF GOOD STANDING re 21 MOTION for Attorney(s) Adamson B. Starr
                           to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number ACTDC-5787808) by
                           Charter Communications, Inc.. (Bradley, Trevor) (Entered: 04/21/2020)
  04/21/2020            39 CERTIFICATE OF GOOD STANDING re 25 MOTION for Attorney(s) Ryan D. Watstein
                           to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number ACTDC-5787925) by
                           Charter Communications, Inc.. (Bradley, Trevor) (Entered: 04/21/2020)
  04/21/2020            40 CERTIFICATE OF GOOD STANDING re 23 MOTION for Attorney(s) Matthew A.
                           Keilson to be Admitted Pro Hac Vice (paid $75 PHV fee; receipt number ACTDC-
                           5787900) by Charter Communications, Inc.. (Bradley, Trevor) (Entered: 04/21/2020)
  04/29/2020            41 REPORT of Rule 26(f) Planning Meeting. (Reardon, James) (Entered: 04/29/2020)
  05/01/2020            42 Memorandum in Opposition re 18 MOTION to Stay Case filed by Kelly Carlier.
                           (Attachments: # 1 Exhibit A)(Reardon, James) (Entered: 05/01/2020)
  05/06/2020            43 ORDER OF TRANSFER.
                           Case reassigned to Judge Robert N. Chatigny for all further proceedings.
                           Signed by Judge Charles S. Haight, Jr on 05/06/20. (Barry, Donna) (Entered: 05/06/2020)
  05/15/2020            44 REPLY to Response to 18 MOTION to Stay Case filed by Charter Communications, Inc..
                           (Attachments: # 1 Exhibit A - AAPC Transcript, # 2 Exhibit B - Calhoun v. FLRish, Inc.)
                           (Watstein, Ryan) (Entered: 05/15/2020)
  05/22/2020            45 ORDER granting 18 Motion to Stay. The constitutionality of the TCPA is presently at
                           issue before the Supreme Court, with a decision expected in June. Even assuming that
                           plaintiffs are correct that the outcome of Barr v. American Ass'n of Political Consultants
                           will not control the outcome of this case, it seems unlikely that the Court's analysis of the
                           TCPA will be entirely irrelevant to the proceedings here. Additionally, the Court finds it
                           unlikely that plaintiff will be meaningfully prejudiced by this brief stay. "[T]he stay here is
                           [about one month] and any alleged harm to Plaintiff is minimal. On the other hand, in the
                           absence of a stay, Charter would be required to spend additional resources defending
                           against this putative nationwide class action that may ultimately be rendered moot by the
                           decision in AAPC." Nakai v. Charter Comm'ns, Inc., No. 19-8035-GW-SSx, 2020 WL
                           1908949, at *6 (C.D. Cal. Apr. 15, 2020). Accordingly, the motion is granted and the case
                           is stayed until the Supreme Court releases its decision in AAPC. So ordered. Signed by
                           Judge Robert N. Chatigny on 5/22/20. (Morgan, Luke) (Entered: 05/22/2020)



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